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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA

                         v.                         Magistrate No. 20-1209

 MATTHEW MICHANOWICZ

 APPLICATION AND ORDER FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM


       The undersigned Assistant United States Attorney hereby applies to the Court for the
issuance of a writ of habeas corpus ad prosequendum, and avers:

       1.     Name of Detainee: Matthew Michanowicz,             Inmate No. 79294, Year of
Birth: 1968, White, Male.

       2.       Detained by: Allegheny County Jail, 950 Second Avenue, Pittsburgh, PA 15219.
        3.     Detainee is charged in this district by Complaint, charging detainee with violating
Title 26, United States Code, Section 5861(d).
       4.     Detainee is presently confined in the Allegheny County Jail, Pittsburgh,
Pennsylvania, awaiting a disposition of state charges.
        5.      The above case is set for hearing at Pittsburgh, PA on June 25, 2020, at 10:30 AM,
and it shall therefore be necessary for detainee to appear via video conference at that time.


                                                 s/ Jessica Lieber Smolar
                                                 JESSICA LIEBER SMOLAR
                                                 Assistant U.S. Attorney
                                                 PA ID No. 65406


                                            ORDER

The above Application is granted and the above-named custodian, as well as the United States
Marshal for this district, are hereby ORDERED to produce the named detainee on the date and at
the time recited above, and, when detainee shall no longer be needed before the Court, detainee
shall be returned to the above-named custodian.




DATE                                          UNITED STATES MAGISTRATE JUDGE
cc:  United States Attorney
